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                                #:5119


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17
18                      UNITED STATES DISTRICT COURT
19                    CENTRAL DISTRICT OF CALIFORNIA
                            WESTERN DIVISION
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21
22   STATE OF CALIFORNIA, et al., )        Case No. 2:19-cv-7390 DMG(AGRx)
                                     )
23           Plaintiffs,             )     [Proposed]
                                     )
24   v.                              )     ORDER GRANTING STIPULATION
                                           RE DISMISSAL WITHOUT
     ALEJANDRO MAYORKAS,             )     PREJUDICE
25
     Secretary of Homeland Security, )
26   et al.,                         )
                                     )     [Hon. Dolly M. Gee]
27           Defendants.             )
28                                   )
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 1 THIS CAUSE comes before the Court upon the parties’ Stipulation Re Dismissal
 2 Without Prejudice.
 3      UPON CONSIDERATION of the parties’ resolution in the instant matter, the
 4 Court hereby ORDERS that the supplemental briefing and hearing schedule on
 5 Plaintiffs’ narrowed motion set in the Court’s previous order, ECF No. 141, is vacated.
 6        The Court will have authority to resolve disputes regarding the terms of this
 7 stipulation.
 8
 9 IT IS SO ORDERED.
10
11 DATED: _____________, 2021.
12
13                                        THE HONORABLE DOLLY M. GEE
14                                        UNITED STATES DISTRICT JUDGE
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